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                         IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


 Vanessa Niekamp
                                                       CASE NO. 2:18-cv-00100 - ALM-EPD
          Plaintiff,
                                                       Judge Algenon L. Marbley
-vs-



 Ohio Board of Embalmers &                             Order on Stipulated Motion to Remove
 Funeral Directors                                     Exhibits From the Public Record and for
                                                       Leave to File Exhibits Under Seal
          -and-


Thomas TancfT, individually and
in his official capacity as a Member of
 the Ohio Board of Embalmers &
 Funeral Directors


          Defendants.



          Upon consideration of Plaintiffs stipulated motion to remove exhibits from the public

 record and for leave to file exhibits under seal, for good cause show, the order is GRANTED. IT

 IS HEREBY ORDERED THAT;


       1. The Clerk of Courts shall remove Exhibits II, 14, and 22 to Plaintiffs Complaint from the

          docket.


    2. Plaintiff is granted leave to file an amended complaint no later than March 23,2018.

    3. Plaintiff is granted leave to file exhibits under sgaj.

                                                                 jMh
                                                                   ATES MAGISTRATE
                                                       JUDGE
